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 5
 6                           UNITED STATES DISTRICT COURT
 7                        NORTHERN DISTRICT OF CALIFORNIA
 8   LAURIE MUNNING, individually and on behalf of
     all others similarly situated,                  Case No.: 3:16-cv-03804-TEH
 9
                                Plaintiff,           CLASS ACTION
10                v.
                                                     NOTICE OF SUPPLEMENTAL
11   THE GAP, INC.; GAP (APPAREL) LLC; GAP           AUTHORITY
     INTERNATIONAL SALES, INC.; BANANA
12   REPUBLIC LLC; and BANANA REPUBLIC
     (APPAREL) LLC,                                  Hearing Date: February 13, 2017
13                                                   Time:         10:00 am
                                Defendants.          Ctrm:        12 – 19th Floor
14                                                   Hon. Thelton E. Henderson
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 1   TO THE COURT AND EACH PARTY AND THE ATTORNEY OF RECORD FOR

 2   EACH PARTY:

 3           Pursuant to Local Rule 7-3(d)(2), plaintiff respectfully submits the following

 4   supplemental authority in support of her Opposition to Defendants’ Motion to Dismiss Plaintiff’s

 5   First Amended Class Action Complaint (“Opposition Brief”), which was heard before this Court

 6   on February 13, 2017. Attached hereto as Exhibit A is a copy of Thomas Luca, JR. v. Wyndham

 7   Worldwide Corp., et al., 2:16-cv-00746 (W.D.Pa. February 15, 2017). This judicial opinion was

 8   published after the date that the Court held oral argument and is relevant to: (i) allegations

 9   sufficient to assert a quantifiable loss for purposes of the New Jersey Consumer Fraud Act

10   (“CFA”), N.J.S.A. § 56:8-1, et seq.; and (ii) whether the CFA can serve as a basis of a claim

11   under the New Jersey Truth-in-Consumer Contract Warranty and Notice Act, N.J.S.A. § 56:12-

12   14, et seq.

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     Dated: February 17, 2017            LAW OFFICES OF TODD M. FRIEDMAN, P.C.
14
15                                       By:     /s/ Todd M. Friedman
                                                 Todd M. Friedman
16
                                         and
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 1                                   CERTIFICATE OF SERVICE
 2           I hereby certify that this document(s) filed through the ECF system will be sent
     electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
 3   and all paper copies will be sent to those indicated as non registered participants on February 17,
     2017.
 4
     Dated February 17, 2017                              Respectfully submitted,
 5
                                                          s/ Todd M. Friedman
 6                                                        Todd M. Friedman
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